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Interviewer:                   I'm going to start the recording and then we'll explain who we are and what our
                               roles are and all of that for you.

Interviewer:                   Gabrielle, can you hear us?

Advisor:                       Yeah. I just wanted to clarify though, I don't have the video on. I just have the
                               audio.

Interviewer:                   Okay. So it doesn't matter if you can see us.

Advisor:                       Right, yeah. That shouldn't matter.

Interviewer:                   Giuseppe, I'm sorry to lean over you. I'm just going to raise the volume a little
                               bit.

Interviewee:                   Okay.

J. Stedinger:                  That's what you wanted, no video?

Advisor:                       Unfortunately, I couldn't hook up my personal laptop to my work wifi, so I can't.

Interviewer:                   Let me start with the recording. So Giuseppe, like I explained to you when we
                               first met, whenever we·meet with someone we do record the conversation. This
                               allows us to actively listen. We don 't have to take a bunch of notes. And it also
                               allows us to accurately document our conversation today because what I hope
                               you 'll share with us today is really important to us and we want to make sure
                               that we get it right, so we record.

Interviewer:                   I know we've met before, but just as a reminder, I'm Chantelle Cleary. I'm the
                               university Title IX coordinator. I'm also the director of Institutional Equity here
                               at Cornell.

Interviewer:                   I oversee the Office of Institutional Equity and Title IX. Our job is to, among
                               other things, investigate complaints made pursuant to University Policy 6.4 of
                               any form of discrimination based on a protected class, and that includes sexual
                               harassment.

Interviewer:                   As you know, a formal complaint has been filed against you alleging sexual
                               assault and sexual harassment. Sexual assault is a form of sexual harassment,
                               okay?

Interviewer:                   I'll let the other folks introduce themselves .

J. Stedinger:                  Can I offer to shake hands?




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J. Stedinger:                  I'm Jery Stedinger. I'm a faculty member in Civil and Environmental Engineering.

Interviewee:                   Nice to meet you.

J. Stedinger:                  My area is Flood Frequency Analysis, Water Resources Management, and as I
                               assume you know, the Dean of the Faculty appoints some faculty member to be
                               a co-investigator and I'm serving in that role.

Interviewee:                   Yeah. I totally understand.

Interviewer:                   Okay. For the purposes of whenever a complaint is filed against a member of
                               the faculty under the prior procedures, it requires that we have a faculty co-
                               investigator to assist us. So that's Jerry's role and then I'll let Vanessa introduce
                               herself.

V. Bentley:                    I'm Vanessa Bentley. I'm an investigator in the Title IX Office and Institutional
                               Equity. Sometimes we just have two investigators in our office working together
                               which is typical.

Interviewer:                   Okay. The complaint alleges a violation of sexual assault, but when we're
                               conducting an investigation as to sexual assault we're also conducting an
                               investigation into whether or not there's been any form of sexual harassment,
                               which is another violation under University Policy 6.4.

Interviewer:                   I'm just going to start by defining both of those policy violations for you. In this
                               case, it is alleged that on; •and you've received a copy of the formal complaint,
                               but that on March 15th' of 2019, while at Statler Hall, on or about 10:30 p.m.,
                               you touched student ■■■■I arm, her waist underneath her clothes, and
                               you grabbed her buttocks without her consent.

Interviewer:                   I want to share with you a little bit about the information we've received and
                               then I want to give you an opportunity to respond to that information.

Interviewer:                   -has indicated that when she was at this event at the Statler Hall on March
                               15th of 2019, she was working in the event. There was a party, so a number of
                               folks there and that at some point you had, in kind of inviting her in to join a
                               conversation, you had put your hand, as is alleged in the formal complaint, on
                               her arm, that you touched her waist underneath her clothes, and again, that you
                               grabbed her buttocks. She's indicating that that all happened without her
                               consent.

Interviewer:                   Today's your opportunity to respond to the allegations that - i s making.
                               Okay? I want to just open it up and let you respond in whatever way you'd like
                               and get your perspective on what's being alleged.




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Interviewee:                   Okay. I'm thinking back and there was a function was going on. It was the library
                               on one side and the other side was the lounge. There was a bar. They were
                               serving cocktail and there were a lot of people .

Interviewee:                   I was there and I introduced             to Ms . Sophia Lee Kanno. Kanno was a
                               former student of mine and just to introduce because maybe it help her out
                               with jobs and things like that, but I'm positive that I did not touch the lower part
                               of her body.

Interviewer:                   Okay.

Interviewee:                   I don't want to even use the word buttocks. Okay? For sure, I know that.

Interviewer:                   Okay. Help me understand how you know for sure .

Interviewee:                   Because I couldn't have done it. That's what I feel it for sure. There were so
                               many people around. It was full of people. If you have the chance to talk to Ms.
                               Kanno, because Sophia was there. So, she was there. I was here. I think she was
                               there, ■■■■ and Ms. Kanno was there. There were people all over. If you
                               want, I can even take you there in the room where the allegation is sort of.

Interviewer:                   Okay. So you had requested, or you had suggested, we get some photographs.
                               So we've seen the space [crosstalk 00:06:06]

Interviewee:                   Yeah, and the space and there's not much to see, but that was the area, and I
                               sent you the video. I got the video from the people.

Interviewer:                   Okay. One thing·! want to remind you of is that any point if you want us to step
                               out so you can speak privately with Gabrielle, that's perfectly fine. Just let us
                               know. Okay?

Interviewee:                   Yeah .

Interviewer:                   So Giuseppe, let's go back a little bit. Help me understand how you know -

Interviewee:                   . . . , saw her a few times because she'd never been in my classes. She would
                               always smile and say hi. That's the only thing I got to know. That was really was
                               the first encounter that I have, formal encounter with her.

Interviewee:                   I never even had a conversation with her before. So I never had a conversation
                               with her.

Interviewer:                    Okay. Help me understand, to the best of your recollection, how you noticed
                               -    that night. When you first noticed -  that night.




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Interviewee:                   I think there was a lot of things going on. Just as walking by there was going
                               from to different functions. Just happened that I bump into her. That's really
                               what happens.

Interviewer:                   Okay. Do you remember who initiated the conversation?

Interviewee :                  I don't remember that. I do not know or remember who started the
                               conversation. That's how we [inaudible 00:07:31]. I don't remember. I don't
                               know if she was the first one to say hi to me or I say hi to her. I don't recall.

Interviewer:                   Okay. Do you recall greeting each other?

Interviewee:                   Just to say hi, maybe something like that. That's the only thing that I would have
                               said. That's the only thing.

Interviewee:                   There was so many things going on that evening that, there are a hundred
                               people. I knew almost all of the peopl e so I was tal king, going from one place to
                               another, so it's j ust I don't reme mber, I don't recall anything. That's, really after,
                               Sophia, Ms. Kanno was there, and that's what I really remember.

Interviewer:                   Okay. You remember kind of saying hello to each other? Is that right?

Interviewee:                   It could have been hi or something like that, but I really can not say yes.

Interviewer:                   Can you help us understand how it was that-           came to join the conversation
                               with you and Sophia?

Interviewee:                   I really don't rernem'ber, because there were so many things going on. I talked
                               to so many people that night. Must have been 40-50 people. Most of them were
                               former students of mine and people from the industry, so I was going from one
                               group ,o f people to another one. So that's how. I'm just in shock.

Interviewee:                   As I said before, I'm just at a loss.

Interviewer:                   Well, we hope by our questions maybe we can help you remember certain
                               things, so just bear with us as we ask a lot of questions.

Interviewee:                   Yeah, oh yeah no, I think that's you doing your duties, so I totally understand
                               that side. I wouldn't even question that.

Interviewer:                   Okay, so what I'm hearing you say is that you don't recall how she joined the
                               conversation with you and Sophia, but do you remember anything about the
                               conversation?

Interviewee:                   Most likely it was about -




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Interviewer:                   Giuseppe, I don't want you to guess, so when you say most likely - [crosstalk
                               00:09:43]

Interviewee:                   No, okay. I do not remember. So, I was thinking, because I know that Miss
                               Kanno, she was working in Chicago. Maybe we were, so I do not remember.

Interviewee:                   If I have to say clearly, I do not remember any segment, any facet of the
                               conversation. It was only a couple of minutes, no more than that. 1 or 2, 3
                               minutes. While we were talking, I was looking towards the bar there. They were
                               serving drinks. Also trying to keep an eye on people drinking too much, being
                               inebriated, things like that.

Interviewer:                   Okay. I want to make sure I clearly understand. Is it that you don't remember
                               the exact words you engaged in or do you not remember anything about the
                               conversation?

Interviewee:                   If I would say I remember anything clear, I would be lying to you. It's something
                               nebulous, so that's the only thing I can, because you know sometimes, I don't
                               know if its happened to the three of you that you've been in conversations that
                               are shallow.

Interviewee:                   You go from one to another one, another person will come see what we were
                               talking about, you forget, s.o that's what it's really that.

Interviewee :                  One thing I think is that Sophia Kanno was talking about a job and what she was
                               doing, trying to explain it t o • • • • you know that work she was doing. The
                               maybe is a word I should say this no more. Talking about her career,-she
                               had reached ll_l_e·point that is the younger student is trying to learn, try to
                               emulate in their life. So that's really it. That's the essence of it.

Interviewer:                   Just to be clear, do you recall that being the essence of the conversation or are
                               you guessing right now? I just want to make sure. If you don't remember, that's
                               okay.

Inte rvi ewee:                 Really to be fair, not 100%.

Interviewer:                   Okay, but is that your best recollection?

Interviewee:                   My best recollection, that was trying to career and when you meet a person
                               that comes and works in the business she was trying to talk about what she was
                               doing and that's what really. I'm sorry that this is just something that is very non
                               unanimous.

J. Stedinger:                  How many of those conversations did you have that night?

Interviewee:                   So many, because if you look at the room, there were more than 100, there
                               were two rooms. They were serving food and drinks and there were students




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                                that introduce me to their parents that were there. There were former students
                                of mine. There were other faculty members.

Interviewee :                   I feel overwhelmed about the situation and I feel that, I don't know. I feel at a
                                loss, because, you know.

Inte rviewe r:                  Can I ask you, do you remember introducing -        and Sophia or do you recall
                                them introducing themselves to each other?

Interviewee:                    Vaguely. Most likely, I introduced because I knew Sophia. That's what I'm trying
                                to go through the introduction process. Most likely they didn't know each other.

Interviewee:                    Also, something that maybe comes clear to my mind is that we talked because
                                they're both of . . . . background, so I was thinking maybe she could be a role
                                model. I was trying to think maybe even philosophically, if you want to say.

Interviewee:                    That's because Sophia works in Chicago at the moment. Sophia Lee Kanno. She
                                graduated maybe 10-15 years ago.

Interviewee:                    See that's what really I recall and I remember, but having regret.

Interviewer:                    Giuseppe, can you remember if there was any physical contact between you
                                and -   that night?

Interviewee:                    I could have touched her in the back. Upper parts in her back maybe when I was
                                leaving to say hi.

Interviewer:                    Tell me more about that.

Interviewee:                    On the back, you know when, I cannot show it to you, but -

J. Stedinger:                   You want to touch me?

Interviewer:                    No, we got it. [crosstalk 00:14:49]

Interviewee:                    You know what I'm saying, maybe have a nice evening. There was Ms. Kanno
                                and -■■l and I say hi and I left.

Interviewer:                    So, what part of their back? How would you describe that part of the back that
                                you're gesturing to?

Interviewee:                    I really didn't, it wasn't the lower part.

Interviewer:                    Okay, so you're kind of tapping yourself on your shoulders. [crosstalk 00:15:15]

Interviewee:                    On the shoulder, maybe. I'm trying to think maybe the arm . I don't know.




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Interviewer:                   You're gesturing to your arm.

Interviewee:                   Yeah, something like that. But, just with the amount of people that were there,
                               the gesture of grabbing someone, I don't know.

Interviewee:                   I'm just at a total loss, that's all. I don't know, I feel bad as a human being.

Interviewer:                   Tell me why you feel bad.

Interviewee:                   I feel bad because something like that happened. Another human being took
                               something that maybe was innocuous and took it so, to grab the loWer part of
                               the body, that's no way.

Interviewee:                   That's what is sort of very puzzling to me. I don't know.

Interviewer:                   I'm sure you've thought a lot about this. Have you thought about any reason
                               why _ , , ight be saying this if it didn't happen?

Interviewee:                   I do not know what she's saying. One thing I notice about -           that I really never
                               did, but she always smile and try to catch attention.

Interviewer:                   Tell me more about that.

Interviewee:                   Eyes and smiling and saying hi, so that's the only thing that I rem ember. She
                               seem ed very happy, ve ry bubbly. That's the only thing that I notice about her.

Interviewer:                   Do you remember how the conversation ended between you, -                    and Sophia?

Interviewee:                   We have a see you later on. I really don't remember because those parties, I
                               don't know if it ever happened, but there are so many people.

Interviewee:                   You 're talking to som eone and other person comes up and all of a su dden you
                               fo rget the conve rsati on, never catch up with the other person. That 's t he way I
                               remember it. That's the way I remember it and I can not.

Interviewer:                   Who broke away from the conversation first, if you remember?

Interviewee:                   I don't remember. I do not remember.

Inte rviewe r:                 Do you remember who you spoke to next?

Interviewee:                   No. Because I was floating around, I might have gone upstairs because there
                               was something going on.

Interviewee:                   There were functions going on all over. If you know the Hotel School, there is a
                               library, there is a big hall, and there was the lounge, so there were people eating




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                               on one side, there was student walking around, there were dirty dishes, you
                               know all of those things.

Interviewer:                   There's more I want to talk about, but before we go there, like I indicated, -
                               has alleged very clearly that her experience that night involved you putting your
                               hands on the places that I've described and I'm hearing you say that there's no
                               way that that happened. Help us understand an explanation for the completely
                               different perspectives, if you have one.

Interviewee:                   Yeah, I don't have it. I do not have it. I do not have an explanation. Rea.Iii/what I
                               feel is that I feel so at a loss, because I don't have an answer.

Interviewer:                   Well, let me ask you this. You mentioned during the night you were focused, at
                               least at some part, when you were talking to -and Sophia at the bar. Help us
                               understand a little bit about that focus.

Interviewee:                   Yeah, because I was keeping an eye on the students because I think we were in
                               an area, in fact I could show the place, and the bar was down there.

Interviewee:                   I was keeping an eye on the students that were pouring drinks, just to see if
                               they were pouring too much, just with the eyes. In a way I was there, but I was
                               looking around the room.

J. Stedinger:                  I'm not understanding this, could you elaborate on that?

Interviewee:                   Yeah, because, see t here were about 100 people there. I was keeping an eye on
                               all the people may!;)e that I knew, that knew me, some people that would say
                               wait.

Interviewee :                  Ther~ were so many things going on that I really can not pinpoint. I can not
                               concentrate exactly what and I cannot say there must have been around 80-100
                               people and there was a bar at the end there and the students were serving
                               drinks to the guests, to industry leaders, the alumni, their spouses.

Interviewer:                   Why were you focused on how much the students were serving?

Interviewee:                   Because I'm sort of an advisor, so I want to keep an eye so that people don't get
                               inebriated or drink too much. That's why, because that's for their ace
                               management standpoint.

Interviewee :                  Even though maybe people were staying in the hotel, if one person would go
                               out and get into a car accident, there is a liquor license that covers the school
                               and the hotel.

Interviewer:                   Were you working that night?




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Interviewee :                  No, I was an advisor. I wasn't working, but as an advisor I was walking around. I
                               was an advisor for the class .

J. Stedinger:                  I don't understand what you mean by the word. Were you working that night?

Interviewer:                   Were you expected to be doing what you were doing? So, was there an
                               expectation by the university?

Interviewee:                   No, there are other advisors. My only self because I was sort of advising people
                               from the servicing point to keep an eye on the people drinking. I was k~eping
                               eyes, I was walking around, and other things like that. I was looking and saying
                               hi to people.

Interviewee:                   You can know that because there are students working so that you do not know
                               what can happen. For many years I taught classes where the students are
                               running restaurants. So, I've always been very concerne'd·about people drinking
                               too much because in the end, I always think back to what I learn at the law class.
                               Is the law of travels damages. If a person start drinking in one place and after
                               they go to another and another one and they kill a person, they can sue
                               everybody. They can sue the owner and Cornell University. I'm trying to keep an
                               eye because when I teach the classes, that's what I always say.

Interviewee:                   I taught for many years the restaurant management class, so where the people
                               own the restaurants. That's why I was sort of keeping an eye, so my mind was
                               all over.

Interviewer:                   Giuseppe, were you drinking that night?

Interviewee:                   No. No.

Interviewer:                   Are you sure?

Interviewee :                  No. I'm sure, I never drink. You can ask anyone. I never drink. I never drink when
                               I do that. People know that at hotel school. I never even sit down.

J. Stedinger:                  What do you mean you don't sit down?

Interviewee:                   When they sit down when they do banquets. When everybody sits down I never
                               sit down and eat.

J. Stedinger:                  You don't sit down and eat the meal?

Interviewee:                   No, I sit and eat with the students before down at the cafeteria, but I don't
                               drink. I do not drink. That's it. That's what I've done for more than 35 years.

Interviewer:                   I'm just looking, if I could just have one second, Giuseppe.




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J. Stedinger:                  Thank you for your patience here.

Interviewee:                   No, no, I think you're doing your job because I totally understand. A student
                               made a complaint and we are here to take care of students and try here.

Interviewee:                   I help a thousand students with jobs, careers, and stuff like that, so I feel so bad
                               that ■••• I feel extremely bad. I feel bad that she's something like that.

Interviewer:                   All right. Giuseppe, I guess my question for you is that you described being kind
                               of distracted, looking around, not recalling much of what happened th~t night.

Interviewer:                   Do you think it's a possibility that in the midst of going from pers·o n to person,
                               being distracted, that your hand may have made contact with tlllinthe way
                               that she's described?

Interviewee:                   I'm positive, grabbing her back. No.

Interviewer:                   Okay.

Interviewee:                   That's totally positive. I'm totally positive because you need to make a
                               measured, concerted effort.

Interviewer:                   So grabbing, right, is different from maybe touching, right? Is there a possibility
                               that, let's start with the first part. She indicated that you touched her arm. I
                               think you've already indicated that you did that.

Interviewee:                   That may be, but I know that the lower part I -

Interviewer:                   So what about her waist, so not her buttocks, but the area above. Is it possible
                               you may have touched her there? And I don't want you to guess.

Interviewee:                   I don't recall, because I wasn't in the mood of going out and leaving the
                               conversation so I do not recall.

Interviewer:                   Just to be clear, do you have any recollection of your hand making contact with
                               her buttocks, either to squeeze or just coming in contact with it?

Interviewee:                   No. I know that she puts down very strong term. When I read that I was so took.

Interviewer:                   Let me ask you this, do you ever recall, you described - as being very bubbly
                               and outgoing? I think the words you used were bubbly, I don't know if you used
                               the word outgoing.

Interviewee:                   Yeah. Smiley, very I don't know.

Interviewer:                   Do you remember her being that way that particular night?




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Interviewee:                   I don't remember, because there were so many people that were bubbly and
                               things like that so I can not pinpoint that she was. I can not pinpoint that, no.
                               See, these were things that happened in a few minutes and I don't remember.

Interviewer:                   I don't want to assume that you don't remember everything, even though
                               you're saying that, so I'm going to ask the question anyway. Do you recall
                               whether or not -     appeared upset at any point with your interaction with her?

Interviewee:                   No. For sure I did not notice that. I did not notice. By the way, mostly I was
                               looking at Ms . Sophia Kanno, because . . I think was here and Sophia was
                               there with Ms. Kanno.

J. Stedinger:                  So the conversation was with Ms. Kanno primarily.

Interviewee:                   Yeah it was Ms. Kanno . Also, they were talking to each other too.

Interviewer:                   Lastly, I just want and then we're going to take a quick break and then we'll step
                               out and then we'll come back in and give you time to talk with Gabrielle before
                               we end our conversation, to make sure that ydu've shared everything you want
                               to share today and we want to make sure we don't have any other questions,
                               but as we're talking, is there anything that is coming to mind that you'd like to
                               share about why you think -      might be saying these things?

Interviewee :                  No, I do not know. Something like that never happened. In my career at Cornell
                               it never happened.

Interviewer:                   When you say never happened, help me understand.

Interviewee:                   It never that anyone brought up something about sexual harassment, things like
                               that. No one ever. I never done anything to do things like that, so that's why I'm
                               really thinking because to run into so many students and many alumni come up,
                               they hug me, all those things. I never. No. I've never done something like that.

Interviewer:                   How would you describe the way you interact physically with students and
                               alumni and even your colleagues?

Interviewee:                   I'm pretty warm as a person .

Interviewer:                   Help me understand warm.

Interviewee:                   Warm from the standpoint if they come, they give me hug, I return it. If they
                               shake their hands and things like that, that's what you do.

Interviewer:                   Would you say that you initiate that conduct too and if so, how ohen are you
                               physically?




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Interviewee:                   I do not initiate. It's sort of in the way it happens. It's reciprocal. It's not that I
                               initiate something like that.

Interviewer:                   Okay. All right, we 're going to step out and give you some time with Gabrielle.
                               I'm going to stop this recording, okay, so you'll start again.

Interviewer:                   Giuseppe did you have enough time to speak with Gabrielle?

Interviewee:                   Yeah, we had a nice chat. She was giving me the appropriate advice and
                               feedback.

Interviewer:                   She's very good.

Interviewee:                   Yeah, she's very good. She's gonna be a great lawyer.

Interviewer:                   I agree. Is there anything more after your conversation With Gabrielle that you
                               wanted to share?

Interviewee:                   No, because that's the thing that I'm thinking back is about really with the that I
                               grabbed and stuff and that's not good. I didn't do that.

Interviewee:                   As I was discussing with Gabrielle, maybe I could have unknowingly, things like
                               that. Like the arm and things like that, but it wasn't done purposely.

Interviewer:                   "Unknowingly her arm and things like that", help me understand .

Interviewee:                   When you say hi and you're leaving, that's all.

Interviewer:                   Do you think you could have unknowingly touched her?

Interviewee:                   Maybe here.

J. Stedinger:                  Shoulder blade.

Interviewee:                   Yeah, shoulder blade.

J. Stedinger:                  I'm just repeating. You pointed and touched your shoulder blade. The top of
                               your shoulder.

Interviewee:                   Yeah.

Interviewer:                   Anything else?

Interviewee :                  No. Just that, no.

Interviewer:                   Vanessa has a couple of follow up questions.




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Interviewee:                   Oh yes.

V. Bentley:                    Giuseppe, I want to take you back to when you were talking with -              and
                               Sophia. You were kind of in a triangle right?

Interviewee :                  Mm-hmm

V. Bentley :                   Are you able to recall how many other people were in close proximity to you
                               three?

Interviewee:                   No, there were people, maybe 4-5 feet there and all around they were spread.
                               Groups with two, three, four, five. When you go to these functions, there are
                               these spreads. There can be two people talking or 4-5 people, but they were all
                               around. They were on that side, they were there, they were In the back behind
                               us. They were all over.

V. Bentley:                    Okay. Are you able to say approximately how far away other people were from
                               you and . . and Sophia?

Interviewee:                   A few feet.

V. Bentley:                    A few feet?

Interviewee:                   Yeah. Wouldn't be too far distance, you know, a few feet from me, something.

Interviewer:                   So, you're kind of gesturing to us, like the same distance we are.

Interviewee:                   Maybe a little more distance there, maybe there.

J. Stedinger:                  There on the table, almost to the wall.

Interviewee :                  Yeah. Something like that.

Interviewer:                   Well, I guess, was there anyone within arm's length of you? You think about
                               arm's length, if I put my arms out, I can't even touch you from where I am now,
                               but maybe if I had another set of arms I'd be able to, right?

Interviewee:                   Maybe there could have been someone to the side. I couldn't even see it,
                               therefore I cannot say it.

Interviewer:                   Okay, were people moving about the room while you, .C1111J and Sophia were
                               standing?

Interviewee:                   Yeah, people were flowing around . They were rotating around. They were going,
                               coming out from one room, going to another one, leaving. Some people might
                               go to the bathroom, the way when you go to functions, the way things happen.
                               That's how it was.




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V. Bentley:                    Okay.

Interviewee:                   Any other questions?

V. Bentley:                    Yeah, just a couple. Thank you.

Interviewee:                   Yeah.

V. Bentley:


Interviewee:
                               -?
                               Forgive me if I'm asking you to repeat an answer, but how long have you known



                               I've seen her in hallways only this semester, this past semester. She never took a
                               class of mine with me, in the hallways something like that. Really,-I never had a
                               formal conversation with her. I never had a conversation. '.

V. Bentley:                    Help me understand formal conversation.

Interviewee:                   To talk. I never talked to her. I just said hi maybe in the hallway, but never
                               talked about that. Never.

V. Bentley:                    Okay. Are you able to recall if you ever invited her to your office to talk?

Interviewee:                   I don't recall that. I don't remember that. I do not remember that.

V. Bentley :                   Okay. You had said that she was smiley and bubbly.

Interviewee:                   She seemed very jovial. That person to smile and look. That's what she seemed
                               to me.

V. Bentley:                    Are you able to recall any time where you commented on her looks in passing in
                               the hallway?

Interviewee:                   No way. I never commented on her looks. No way. No I don't recall that. I do not
                               recall that.

V. Bentley:                    Giuseppe, do you know what your reputation is as a professor in the Hotel
                               School?

Interviewee:                   No, I do not know. I really try to treat everybody equally. That's the same thing I
                               do with human beings.

V. Bentley:                    Has anybody ever shared with you that they thought perhaps you were too
                               physical with your interactions with students?

Interviewee:                   No.

V. Bentley:                    Okay.




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Interviewee:                   No one ever told me that. Never told me I was too physical no. No one ever told
                               me.

V. Bentley:                    Okay.

Interviewer:                   If you have more questions that's fine, but I need a second okay?

V. Bentley:                    Yeah .

Interviewee :                  Yeah .

V. Bentley:                    Giuseppe, do you recall ever, well I guess, on this date of the complaint, you
                               spoke with Sophia.

Interviewee:                   Sophia, Ms. Kanno, yeah.

V. Bentley:                    Ms. Kanno, yeah. Are you able to recall if you ever commented on her looks that
                               day?

Interviewee:                   I do not remember.

V. Bentley:                    You don't remember. Do you think there 's a possibility?

Interviewee:                   No, I don't remember. I do n6t remember that's the point, because I just don't
                               remember if I commented on her looks. I do not remember.

V. Bentley:                    Okay.

J. Stedinger:                  Is the question more would you comment on her looks?

Interviewee:                   Well, I'm thinking that sometime when a woman comments "Giuseppe, you look
                               great". That's very shallow, it's nothing to do.

Interviewee:                   You look great, you never age, th ings like that. You've got comments like that.
                               As the French would call it en passant, as you pass by, you know but I do not
                               know.

Interviewee:                   No, I don't recall that I told Sophia, because last time I must have saw her was
                               five, six, ten years ago. Because once they come back to this function, HEC, so
                               they come along and come back and things like that. They come back with wife,
                               with kids, and all those things.

Interviewee :                  You can ask all the alums about me. You can really talk to anyone. You have the
                               right to ask everybody.

J. Stedinger:                  Sometimes they come back as adults.




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Interviewee:                   Yeah, they someday come back. They leave they were very young and they
                               come back. Since student, they come back now and they have grandchildren in
                               my classes, so that makes you think I'm in Jurassic Park land.

V. Bentley:                    Giuseppe, I'm just going to read to you -  descri ption and I want to see if
                               when you hear her words instead of our words if that brings any memories to
                               you of your encounter.

Interviewee:                   Okay.

V. Bentley :                   So, she sai d, "It happened March 15th around 10:30 PM. It was a conference
                               we were holding at Hotel School, called HEC. It took place in the lib rary/lounge
                               area, specifically in the lounge." Do you recall being in that area?

Interviewee:                   Oh yeah, that's what I mentioned, the lounge.

V. Bentley:                    Okay, and is that where you recall engaging with her?

Interviewee:                   Yeah. I think. That I remember very welL      ·

V. Bentley:                    Okay. Sh e then goes on t o say "Aro und ·10 PM, we started clean ing up the event.
                               I walked into th e lou nge. I saw professo r, or we j ust ca ll him Giuseppe, talking
                               w ith an alumni. I say hi and then I end up talking to the alum and he walks away
                               to talk to other people. About 15 minutes later, he comes back.

V. Bentley:                    Giuseppe's kind of t o·uchy, so he f irst to uches my forearm, then he progresses
                               where he puts his arm around my waist, and then he to uches the skin on my
                               waist between th~ shirt and the to p of my pants, which was underneath my su it
                               jacket. Then he grabbed my left butt cheek.

V. Bentley:                    That took place over a period of t ime around 10:30. I excused myself saying I
                               need to help clean up again. When I'm trying to leave, he grabs my forearm,
                               again, and asks what time I'm leaving the building tonight, because he wants to
                               say bye before I leave.

V. Bentley:                    At 10:34, I call my frie nd. Before all of this, Giuseppe com mented on my looks a
                               lot and he also kept asking me to vis it him in his office just to tal k. I don't have
                               any classes with him. I'm not really interested in the field he teaches, so I
                               thought he was just being kind and being Giuseppe."

Interviewee:                   I really don't remember all the comments. I really do not remember.

V. Bentley:                    Okay.

Interviewee:                   I don't remember anything about the conversation.




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V. Bentley:                    Do you, separate and apart from your interactions with her, the part where she
                               says that you had asked her to visit you in your office just to talk, prior to this
                               evening, do you remember doing that?

Interviewee:                   I don't remember.

V. Bentley:                    Okay.

Interviewee:                   I do not remember.

V. Bentley:                    Okay.

J. Stedinger:                  Is that something you often do?

Interviewee:                   If there are students in my class, taking my class, you c,an stop by and talk about
                               a subject. We do that, but I really don't remember that.

Interviewer:                   Okay.

Interviewee:                   I do not remember it.

V. Bentley:                    Okay. Anything about what I just shared bring up anything you'd like to say?

Interviewee:                   No, I'm thinking, because even ifthere are so many things going on and
                               everything happened so quickly and rapidly, that I do not think there is anything
                               I want to share.

V. Bentley :                   Okay.

Interviewee:                   I do.

V. Bentley :                   Sorry. I don't think that we have any more questions for you .

Interviewee:                   Do you have any more questions?

Interviewer:                   No, thank you . Giuseppe, do you want another moment to speak with
                               Gabrielle?

Interviewee:                   Maybe a few seconds.

Interviewer:                   Okay, we'll step out.

J. Stedinger:                  We're waiting for a final statement or something?

Interviewer:                   We're going to let him speak with Gabrielle.

Interviewee:                   Can I ask a question?




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Interviewer:                   You sure can ask a question .

Interviewee:                   What is the process for what's happening next? The process.

Interviewer:                   So I'd like to have that conversation when we're done talking about the facts, so
                               why don't you check in with Gabrielle and make sure there 's nothing else you
                               want to add about the allegations and then we'll stop the recording, start a new
                               one, and talk about next steps.

Interviewee:                   Perfect.

Interviewer:                   All right Giuseppe, did you get a chance to touch base with Gabrielle again?

Interviewee:                   Yeah I touched base and one thing that I was explaining to you about my
                               personality, okay, because I'm hospitable. One person I say hi to everybody. In
                               the Hotel School there are some people walking around and I take them to
                               different places and I tell them what to do.

Interviewee:                   Giving an example, many years ago there was a review in the restaurant in
                               United States, Canada, and Mexico. So New York, LA, Montreal, Mexico City, all
                               over, and some time what I would do in the matter, because they would pay for
                               a meal for me and they would pay for another person because if you go alone,
                               they thought that you'd be a reviewer.

J. Stedinger:                  You'd get spotted.

Interviewee:                   Sometime I would call former students that were in different cities. I even got
                               poor people on 42nd Street and I would go, they would put a jacket and take
                               them to shave and take them with me for the meal and in front of some people
                               they really got broke in Wall Street and things like that so there's is my
                               personality. I'm a warm human being. That's maybe some people their
                               perception can be, I don't know.

Interviewer:                   Okay.

Interviewee:                   I thought I would share something like that. Maybe ask other people in the
                               Hotel School what they think about me. I think that would be better.

Interviewee:                   I'm sorry. I'm very sorry that you're here and taking time.

Interviewer:                   You don't have to apologize for that, again, this is our job.

Interviewee:                   I know, but it's in the evening.

J. Stedinger:                  I'll take the apology, it's not my job.

Interviewer:                   It is, though. [crosstalk 00:45:58]




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J. Stedinger:                  I know.

Interviewer:                   So, you don't have to apologize.

Interviewee:                   If you have any other questions for me, and what is the next step? The next
                               process .

Interviewer:                   So the next step is -

J. Stedinger:                  Do you want to turn off the recording?

Interviewer:                   No, it's fine, because I'm confusing the processes, right, so if we were sharing
                               the transcripts with • • I would stop, but under this process and under the
                               proced ures for resolution or complaints against faculty, the prior procedures,
                               beca use this complaint was filed in April of 2019, we're operating under the
                               procedures that were effective in April of 2019.

Interviewee:                   Mm-hmm

Interviewer:                   On June 1st, those procedures changed and so faculty members accused of
                               engaging in a violation of University Policy 6.4 after June 1st of 2019 are
                               afforded their right to a hearing. Th is ,incident and the complaint was filed in
                               April of 2019, so it's different. We're going to proceed under the former
                               procedures, which have resoh.itions that occur differently.

Interviewer:                   So the next step for us under the former procedures, which is again what we're
                               proceeding under, require that Vanessa, Jery, and I write a report. That report
                               will summarize the information that we've collected during the course of this
                               investigation and it will include a recommendation as to whether or not the
                               Dean should make a finding that you violated University Policy 6.4 or that you
                               did not.

Interviewer:                   So we'll say, based on the evidence and the standard of proof, we either
                               recommend that you find Professor Pezzotti responsible for violating University
                               Policy 6.4 or our recommendation will be based on the evidence collected and
                               the standard of proof that we used in this process, our recommendation is that
                               you find him not responsible for violation of University Policy 6.4.

Interviewer:                   Under either finding, we may also make recommendations for sanction or
                               remedy, right? If we are indicating that we believe the Dean should find you
                               responsible for violation of Policy 6.4, we might then say "As a sanction of that
                               finding of responsibility, we recommend that you do x, y, and z." That can go
                               anywhere from just counsel ing you to terminating you . Okay?

Interviewer:                   If we make a findi ng of not responsible, we may make recommendations for
                               remedial action. Action intended to address, not a policy violation, but maybe
                               some conduct that we believe you engaged in, but fall short of a policy violation




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                               or some conduct that we believe occurred based on our investigation that
                               someone should address to help ensure that this isn't made again.

Interviewer:                   An example of that might be if the investigation suggests that perhaps that if we
                               find that based on the evidence we say Giuseppe is not responsible for violating
                               University Policy 6.4, but the evidence suggest very much so that Giuseppe is a
                               little bit too physically interactive with students.

Interviewee:                   Yeah.

Interviewer:                   We might recommend to the dean that she have a conversation with you to
                               remind you of the importance of not being physical with students. Does that
                               make sense?

Interviewee:                   It makes sense.

Interviewer:                   Okay?

Interviewee:                   In the end, I'm accepting your decision and the decision of the people .

Interviewer:                   The Dean.

Interviewee:                   Dean. Really that's what it co,:ne:S down to. You're doing your job, you're doing
                               all of this investigation . You're s1:i'ending a lot of time and things like that and I
                               want to be sure that l'I) acc~pt your decisions.

Interviewer:                   We appreciate that and while our decision is a recommendation, so ultimately it
                               will be the Dean's decision. The other thing, Giuseppe, that could happen is that
                               when we issue olir report, the Dean always has the option of sending the
                               investigation back to us for us to do more work.

Interviewee:                   More work?

Interviewer:                   That doesn't happen often, because we try to be really thorough and anticipate
                               what the Dean may want to know, but it's a possibility, so we just want you to
                               be aware of that.

Interviewee:                   Yeah. I'm just expecting.

Interviewer:                   The next step for us is that we would like to touch base with -   again, based
                               on the conversations we've had with you . Then after we speak with-       there
                               is a possibility that we may want to speak with you again, although we don't
                               expect that at this point.

Interviewer:                   Then after we connect with atind you if we need to again, then we're going
                               to write our report. That takes a little bit of time because we like to be thorough
                               and Vanessa writes it and then Jery and I review it and we may make some




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                               suggested changes or additions and then once we've decided that our report is
                               complete, then we send that to the Dean and the Dean works on her own time
                               to review.

Interviewee:                   It takes time to do.

Interviewer:                   Yeah, sometimes she'll want to consult with us. Okay?

Interviewee:                   Any other things I should know?

J. Stedinger:                  How far does that report get distributed? Is it just to the Dean?

Interviewer:                   Yeah, so it goes to the Dean and depending on what the fin~ing. This process is
                               private, so that means that the information collected and our findings and
                               recommendations are only shared to the extent that they need to be to carry
                               out the recommendations in our report.

Interviewer:                   If for example there's a finding of responsibility and let's say one of the
                               recommended sanctions is that you be counseled, and not let's say you be
                               reassigned. I know that you're not teaching-currently, correct?

Interviewee:                   No, I'm teaching.

Interviewer:                   Oh, you are? Okay. So let~s.say it's you being reassigned to a different -

Interviewee:                   Yeah, I'm still teac~ing.

Interviewer:                   But not this summer right?

Interviewee:                   Not in this summer, no.

Interviewer:                   Right, so you're not teaching currently.

Interviewee:                   No, I'm teaching in the fall.

Interviewer:                   In the fall, so let's say -

Interviewee:                   I'm scheduled to teach in the fall.

Interviewer:                   Okay, so let's say they decide, and this is just a hypothetical which is unlikely to
                               happen right, but in terms of like rescheduling a class, but let's say that
                               happens . We would have to share the action, the change, with whoever's
                               responsible forthat. So maybe your chair or something like that, but generally,
                               they keep it as private as possible.




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Interviewer:                   The other thing is you have a right under University Policy 6.4 to ask that the
                               university restore your reputation as a result that there is a finding of not
                               responsible, to the extent that is appropriate.

Interviewer:                   So, if you find that folks are saying that Giuseppe was accused of sexual
                               assaulting or harassing a student and he did it, well you could ask us to address
                               that. Okay?

Interviewer:                   There are ways that we do that. Generally it's just by issuing a letter saying a
                               complaint was filed, a full and fair investigation was conducted, and it was
                               found that Giuseppe did not engage in the conduct alleged pursuant to the
                               university. [crosstalk 00:53:09]

Interviewee:                   Mm-hmm. How would something like that happen?

Interviewer:                   You would have to ask for that.

Interviewee:                   No, but that someone would say something.

Interviewer:                   Because the student is allowed to share her experience and we can't stop her
                               from doing that.

Interviewee:                   Oh okay, I wasn't even thinking about that.

Interviewer:                   Yeah. The student isn't allowed t o engage in retaliatory conduct, but w e ca n't
                               prohibit her or you from sharing your experience, as we ask you not t o, but -

Interviewee:                   No, I don't think I would share it with anyone. The other thing, I had another
                               question that Game to mind, but now escapes me.

Interviewer:                   If you have any other questions, you can just e-mail them to us or even call us.
                               Okay?

Interviewee:                   Yeah. It was something that came to mind .

Interviewer:                   If it comes back, you know where to find us.

Interviewee:                   Yeah, that will be the thing to happen.

Interviewer:                   Okay. All right, so we 're all set for tonight, so thank you and we'll be in touch
                               soon. If you have any questions between now and when we get in touch, just
                               reach out, okay?

Interviewee:                   Yeah .

Interviewer:                   All right. Thank you Giuseppe.




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 V. Bentley:                   Thank you .

 Interviewee :                 Thank you.




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Policy 6.4 - Resolution of Reports Against Students Forms:
Investigation - Transcript Review Form

Na.me 1 of the Individual Completing Form: Giuseppe Pezzotti
Interview Date: June 25, 2019
Date Transcript Review Form is Submitted: July 26, 2019                                                        0
                                                                                                       ' o.
Interviewees may review the transcript of their investigative interview. Interviet0~~t
required to provide the investigator with comments or corrections based on thei      · of their
investigative interview. If an interviewee would like to provide comm             r corrections
upon review of the transcript of their investigative interview, the ·           iewee must
complete this form.                                                 ~

The completed form will be included in the investigative recor()"

The completed form s/wuld be submitted to the Lead Inv,~~ electronically.


    Page      Original Text in Transcript
              Kanno was a former student of
              mine and just to introduce ♦
              because maybe it help h r '4t~          ophia Kanno was a former student of mine and I just
              with jobs and things lik       i..t'   wanted to introduce ■••■10 Ms. Kanno because I
              but I'm positive tha            t      thought it might help her out with jobs and things like
              touch the lowe a                       that, but I'm positive that I did not touch the lower part
    3         body.                                  of her body.
              My best recollrtlon, that was
              trying to~;er and when you             To my best recollection, we were talking about Ms.
              m e ~ ~ n that comes and               Kanno's career and how that might be applicable t o •
              wo           e business she was        - · When you meet a person that comes and works
             _tr\fi o talk about what she            in the business that's common, she was trying to talk
           • ~ doing and that's what                 about what she was doing. I'm sorry that this is just
                ally. I'm sorry that this is just    something that is difficult to remember because these
              something that is very non             conversations are very similar and I had many of them
    5         unanimous.                             during that evening.
               So many, because if you look
              at the room, there were more
             than 100, there were two                 So many, because if you look at the room, there were
    5         rooms.                                 more than 100 people, there were two rooms.


1
    Parties may use their initials or indicate "Complainant" or "Respondent."



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                                                  What I was trying to say was: I would have liked to have
                                                  had the opportunity to catch up w ith Ms. Kanno, early in
              See that's what really I recall     the day and talk about her career and job and how she is
              and I remember, but having          doing, and I regretted that I did not have a chance to do
  6           regret.                             so.
                I feel bad because something
              like that happened. Another          I feel bad because something like that happened.
              human being took something          Another human being took something that maybe was
              that maybe was innocuous and        innocuous and interpreted the situation so differently.
              took it so, to grab the lower       There's no way that I grabbed the lower part of her
  7           part of the body, that's no w ay.   body, that's no way.
               Yeah, because, see there were
              about 100 people there. I was       Yeah, because, see there were about 100 people there. I
              keeping an eye on all the           was keeping an eye on all t.he people maybe that I knew,
              people maybe that I knew, that      that knew me, some people that would say wait. In
              knew me, some people that           particular, I was keeping an eye on the students who
  8           would say wait                      were working the event.
                                                  I was referring to the legal implication s of when an
                                                  individual who is intoxicated is served alcohol at an
                                                  establishment, gets too intoxicated, and then leaves and
                                                  hurts or injures other people. I was watching out as an
                                                  advisor to prevent a bad situation from happening
  9            Is the law of travels damages      where Cornell could be liable.
               I fee l bad that she's something   I feel bad that she feels like I did something like what
  10           like that.                         she is describing.
               It never that anyone brought
              up something about sexual
               harassment, things likelhat. ·No
              one ever. I never:done anything
              to do things like that, so that's   It has never happened that anyone brought up
              why I'm really thinking because     something about sexual harassment, or anything like
              to run into so many students        that. No one ever. I've never done anything to do things
              and many alumni come up,            like that, so that's why I'm really thinking hard about
              they hug me, all those things. I    your questions because I run into so many students and
              never. No. I've never done          many alumni come up, they hug me, all those things. I
  11          somethi ng like that.               never. No. I've never done someth ing like that.
              Yeah . Wouldn't be too far
              distance, you know, a few feet       Yeah. They wouldn't be too far in distance, you know, a
  13          from me, something                  few feet from me, or something like that.
              She seemed very jovial. That
              person to smile and look. That's    She seemed very jovial. That type of person to smile and
 14           what she seemed to me.              look. That's what she seemed like to me.
              You look great, you never age,
              things like that. You've got        People say things like " You look great, you never age,"
              comments like that. As the          and things like that. I've gotten comments like that. As
 15           trench would call it en passant,    the trench would call it en passant, as you pass by, you




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              as you pass by, you know but I   know but I do not recall whether I would have said
              do not know.                     something like that to Sophia.




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